UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WISCONSIN

 

TIMOTHY J. FAST,
on behalf of himself and all
others similarly situated,

Plaintiff,

Vv. Case No.: 16-CV-1637

CASH DEPOT, LTD.,

Defendant.

 

DEFENDANT’S SECOND SET OF INTERROGATORIES AND
REQUEST TO PRODUCE DOCUMENTS

 

TO: Timothy J. Fast
c/o Attorney James A. Walcheske
Walcheske & Luzi, LLC
15850 W. Bluemound Road, Suite 304
Brookfield, W1 53005
Defendant, Cash Depot, Ltd., by its attorneys, Law Firm of Conway, Olejniczak & Jerry,
S.C., hereby requests that you answer, in writing and under oath, the following discovery
demands within thirty (30) days of the time service is made upon you herewith, pursuant to the
Federal Rules of Civil Procedure. In answering these demands, you are directed to employ the
standard and ordinary meaning of words in the context of the Complaint filed in this action, and
employ the Standard Definitions Applicable to All Discovery at Civil L.R. 26.3, which provides:
(a) The full text of the definitions set forth in paragraph (b) is deemed incorporated
by reference in all discovery, may not be varied by litigants, but must not preclude
(i) the definition of other terms specific to the particular litigation, (ii) the use of

abbreviations, or (iii) a more narrow definition of a term defined in paragraph (b).

(b) Definitions. The following definitions apply to all discovery:

“EXHIBIT

 
(1) Communication. The term “communication” means the transmittal of
information (in the form of facts, ideas, inquiries, or otherwise).

(2) Document. The terms “document” includes electronically stored
information and is further defined to be synonymous in meaning and equal

in scope of the usage of this term in Fed.R.Civ.P. 34(a). A draft or non-
identical copy is a separate document within the meaning of this term.

(3) Identify.

(i) With Respect to Persons. When referring to a person, “to identify”
means to give, to the extent known, the person’s full name, present
or last known address, and when referring to a natural person,
additionally, the present or last known place of employment. Once
a person has been identified in accordance with this subparagraph,
only the name of that person need be listed in response to
subsequent discovery requesting the identification of that person.

(ii) | With Respect to Documents. When referring to documents, “to
identify” means to give, to the extent known, the (i) type of
document; (ii) general subject matter; (iii) date of the document,
and (iv) author(s), addressee(s), and recipient(s).

(4) Person. The term “person” is defined as any natural person or any

business, legal, or governmental entity, or association.

INTERROGATORIES.

Interrogatory No. 1. With regard to the costs incurred or expended to date on your
behalf for the above-referenced litigation, provide a description of each item of costs, the amount
of such cost, indicate whether the cost has been paid, the amount of payment, and the person or
entity making the payment. Attached to your answer any document corroborating any aspect of
your answer.

Interrogatory No.2. With regard to the attorney’s fees incurred or expended to date in
this litigation, (A) describe the total amount of the fees incurred, the nature of each legal service

and/or activity for which any charge was made for legal services, the amount of time spent on

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each such legal service and/or activity, the amount charged for such legal service and/or activity,
and state whether payment has been made, and if so, by whom and when; (B) if the legal charges
were based upon increments of time, such as an hourly charge, describe for each person
providing legal service and/or activity, the amount of the charge, indicate the capacity (i.e.
attorney, paralegal, administration staff, etc.) of the person performing such legal service and/or
activity, describe the qualifications of such person to perform those tasks. Indicate the nature of
the fee agreement between you and your attorneys: this means whether the fee agreement is
hourly, a flat fee, or contingent based on recovery or any other arrangement.

Attach to your answer, any document corroborating any aspect of your answer.

Dated this 7 day of June, 2017.

LAW FIRM OF CONWAY, OLEJNICZAK & JERRY; S.C.
sir Depot, Ltd.

  
 

/RAGeOtge Burnett (State Bar No. 1005964)
Jodi Arndt Labs (State Bar No. 1033359)

 

POST OFFICE ADDRESS:

231 South Adams Street

P.O. Box 23200

Green Bay, WI 54305-3200

(920) 437-0476

jodi@lcojlaw.com

gh@leojlaw.com

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The undersigned certifies that a true copy of the
within was served by mail upon all attorneys of
racord pursuant to Wis. Stats. Sec. 801.14, this

 

 

“4 day of Sse. 26 47)
C3 gn pede We Heke dit on,
Signature
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